               Case 1:20-bk-10905-MB                               Doc 25 Filed 05/20/20 Entered 05/20/20 12:36:07                                                          Desc
                                                                   Main Document     Page 1 of 40
 Fill in this information to identify your case:

 Debtor 1                   Jay B Reznick
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  CENTRAL DISTRICT OF CALIFORNIA

 Case number           1:20-bk-10905-MB
 (if known)
                                                                                                                                                                  Check if this is an
                                                                                                                                                                     amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                   Your assets
                                                                                                                                                                   Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................      $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................           $             122,006.48

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................      $             122,006.48

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                   Your liabilities
                                                                                                                                                                   Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                       $              81,292.91

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                             $             450,000.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                               $          1,461,828.73


                                                                                                                                     Your total liabilities $               1,993,121.64


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................                $              20,000.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                            $              26,572.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
 7.     What kind of debt do you have?

         Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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 Debtor 1      Jay B Reznick                                                              Case number (if known) 1:20-bk-10905-MB

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            450,000.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $             17,415.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $            618,082.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $          1,085,497.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
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                                                              Main Document     Page 3 of 40
 Fill in this information to identify your case and this filing:

 Debtor 1                 Jay B Reznick
                          First Name                        Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)      First Name                        Middle Name                     Last Name


 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number           1:20-bk-10905-MB                                                                                                     Check if this is an
                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
    Yes.      Where is the property?



 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
    Yes

  3.1      Make:       Porsche                                                                                    Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                  the amount of any secured claims on Schedule D:
           Model:      Cayenne                                  Debtor 1 only                                    Creditors Who Have Claims Secured by Property.
           Year:       2011                                     Debtor 2 only                                    Current value of the      Current value of the
           Approximate mileage:              175,000            Debtor 1 and Debtor 2 only                       entire property?          portion you own?
           Other information:                                   At least one of the debtors and another

                                                                Check if this is community property                       $8,000.00                    $8,000.00
                                                                     (see instructions)



  3.2      Make:       BMW                                                                                        Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                  the amount of any secured claims on Schedule D:
           Model:      X1                                       Debtor 1 only                                    Creditors Who Have Claims Secured by Property.
           Year:       2013                                     Debtor 2 only                                    Current value of the      Current value of the
           Approximate mileage:                90,000           Debtor 1 and Debtor 2 only                       entire property?          portion you own?
           Other information:                                   At least one of the debtors and another
          Vehicle driven by Debtor's son
                                                                Check if this is community property                       $7,000.00                    $7,000.00
                                                                     (see instructions)




Official Form 106A/B                                                         Schedule A/B: Property                                                           page 1
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 Debtor 1        Jay B Reznick                                                                                      Case number (if known)       1:20-bk-10905-MB

  3.3    Make:       Jeep                                                                                                     Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Liberty                                    Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:       2012                                       Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:                110,000            Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
        Vehicle driven by Debtor's
        daughter in Oregon                                      Check if this is community property                                    $4,500.00                  $4,500.00
                                                                     (see instructions)



  3.4    Make:       Tesla                                                                                                    Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Model 3                                    Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:       2018                                       Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:                   14000           Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another

                                                                Check if this is community property                                  $45,000.00                 $45,000.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

    No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $64,500.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
     Yes.     Describe.....

                                    Household goods and furnishings                                                                                                 $3,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
    No
     Yes.     Describe.....

                                    Four televisions, amplifier, speakers, digital camera, cell phone,
                                    iPad                                                                                                                            $1,500.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
    No
     Yes.     Describe.....

                                    Approximately 15 vintage fountain pens                                                                                          $1,000.00



Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
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 Debtor 1       Jay B Reznick                                                                   Case number (if known)    1:20-bk-10905-MB


                                    Miscellaneous art prints                                                                                  $100.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
    No
     Yes.     Describe.....

                                    Two bicycles and trainer stand, skis and ski gear, weight bench
                                    and weights                                                                                             $1,200.00


                                    Surfboard and paddleboard                                                                                 $250.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
     No
     Yes. Describe.....
11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
     Yes.     Describe.....

                                    Clothing                                                                                                $1,500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
     Yes.     Describe.....

                                    Men's watches:
                                    1) 1990 Audemars-Piquet Audemars Piquet Day Date Moon-Phase
                                    18k yellow gold- 289222, Serial No. C90398
                                    2) 2014 Ball Engineer Hydrocarbon Black- DM2176A, Serial No.
                                    7311698
                                    3) 2000 Breitling Chronomat B13048, Serial No. 1-25973
                                    4) 2012 Omega DeVille X2 Big Date Chronometer, Serial No.
                                    78058670
                                    5) 2010 Bedat & Co. No. 7 Ref 797, Serial No. 668                                                     $28,200.00


                                    Cufflinks                                                                                                 $100.00


                                    Four men's watches: Omega, Baum & Mercier, Bucherer, Citizen                                            $2,300.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
    No
     Yes.     Describe.....

                                    Pet dog                                                                                                       $0.00


14. Any other personal and household items you did not already list, including any health aids you did not list
     No
     Yes. Give specific information.....

Official Form 106A/B                                                 Schedule A/B: Property                                                       page 3
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 Debtor 1          Jay B Reznick                                                                                            Case number (if known)   1:20-bk-10905-MB

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                        $39,150.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
     Yes................................................................................................................
                                                                                                                               Cash on hand                           $150.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
    No
    Yes........................                                     Institution name:


                                              17.1.       Checking                               U.S. Bank; Acct. No. xxxxx9459                                       $700.00



                                              17.2.       Savings                                US Bank; Acct. No. xxxxxx8788                                            $5.63



                                              17.3.       Savings                                US Bank, Acct. No. xxxxxx8762                                        $110.13



                                              17.4.       Checking                               One West Bank, Acct. No. xxxxxx3606                                $9,665.72


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................                             Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
    No
     Yes.       Give specific information about them...................
                                       Name of entity:                                                                       % of ownership:

                                                  Jay B. Reznick, DMD, MD, Inc.                                                   100          %                    Unknown


                                                  Medicus Multimedia, LLC                                                         100          %                    Unknown


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
     No
     Yes. Give specific information about them
                                                  Issuer name:




Official Form 106A/B                                                                     Schedule A/B: Property                                                           page 4
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 Debtor 1       Jay B Reznick                                                                            Case number (if known)      1:20-bk-10905-MB
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
     Yes. List each account separately.
                                      Type of account:                   Institution name:

                                      401(k)                             John Hancock; Acct. No. xxx8928                                                  $0.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    No
    Yes. .....................                               Institution name or individual:


                                      Security deposit with              Zion Ida                                                                   $7,425.00
                                      landlord


                                      Utility deposit                    Los Angeles Department of Water and Power                                    $300.00


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
     No
     Yes.............          Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
     No
     Yes.............          Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
     No
     Yes. Give specific information about them...
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
     No
     Yes. Give specific information about them...
27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
     Yes.     Give specific information about them...

                                              California medical license, California dental license, Hawaii
                                              medical license                                                                                             $0.00


 Money or property owed to you?                                                                                                        Current value of the
                                                                                                                                       portion you own?
                                                                                                                                       Do not deduct secured
                                                                                                                                       claims or exemptions.

28. Tax refunds owed to you
     No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     No
     Yes. Give specific information......

Official Form 106A/B                                                 Schedule A/B: Property                                                               page 5
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 Debtor 1        Jay B Reznick                                                                                                   Case number (if known)        1:20-bk-10905-MB
30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
     No
     Yes. Give specific information..
31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
    No
     Yes. Name the insurance company of each policy and list its value.
                                             Company name:                                                            Beneficiary:                                Surrender or refund
                                                                                                                                                                  value:

                                             State Farm - term policy required by
                                             divorce judgment, no cash value.                                         Trudy Reznick                                                 $0.00


                                             State Farm - term policy, no cash value                                  Madeline Reznick and
                                                                                                                      Matthew Reznick                                               $0.00


                                             State Farm - disability insurance                                        Debtor                                                        $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
     No
     Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
     No
     Yes. Describe each claim.........
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
     No
     Yes. Describe each claim.........
35. Any financial assets you did not already list
     No
     Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................            $18,356.48


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    No. Go to Part 6.
    Yes.     Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       No. Go to Part 7.
       Yes.     Go to line 47.



 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


Official Form 106A/B                                                           Schedule A/B: Property                                                                               page 6
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 Debtor 1         Jay B Reznick                                                                                                         Case number (if known)   1:20-bk-10905-MB

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                       $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                       $0.00
 56. Part 2: Total vehicles, line 5                                                                           $64,500.00
 57. Part 3: Total personal and household items, line 15                                                      $39,150.00
 58. Part 4: Total financial assets, line 36                                                                  $18,356.48
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $122,006.48               Copy personal property total          $122,006.48

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $122,006.48




Official Form 106A/B                                                               Schedule A/B: Property                                                                            page 7
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                                                              Main Document    Page 10 of 40
 Fill in this information to identify your case:

 Debtor 1                Jay B Reznick
                         First Name                         Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name                     Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number           1:20-bk-10905-MB
 (if known)
                                                                                                                                         Check if this is an
                                                                                                                                            amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                     4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

       You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from      Check only one box for each exemption.
                                                               Schedule A/B

      2011 Porsche Cayenne 175,000 miles                                                                                         C.C.P. § 703.140(b)(2)
      Line from Schedule A/B: 3.1
                                                                      $8,000.00                                   $5,850.00
                                                                                         100% of fair market value, up to
                                                                                              any applicable statutory limit

      2011 Porsche Cayenne 175,000 miles                                                                                         C.C.P. § 703.140(b)(5)
      Line from Schedule A/B: 3.1
                                                                      $8,000.00                                   $2,150.00
                                                                                         100% of fair market value, up to
                                                                                              any applicable statutory limit

      2013 BMW X1 90,000 miles                                                                                                   C.C.P. § 703.140(b)(5)
      Vehicle driven by Debtor's son
                                                                      $7,000.00                                        $0.00
      Line from Schedule A/B: 3.2                                                        100% of fair market value, up to
                                                                                              any applicable statutory limit

      2012 Jeep Liberty 110,000 miles                                                                                            C.C.P. § 703.140(b)(5)
      Vehicle driven by Debtor's daughter
                                                                      $4,500.00                                   $4,500.00
      in Oregon                                                                          100% of fair market value, up to
      Line from Schedule A/B: 3.3                                                             any applicable statutory limit

      Household goods and furnishings                                                                                            C.C.P. § 703.140(b)(3)
      Line from Schedule A/B: 6.1
                                                                      $3,000.00                                   $3,000.00
                                                                                         100% of fair market value, up to
                                                                                              any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 1 of 3
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            Case 1:20-bk-10905-MB                             Doc 25 Filed 05/20/20 Entered 05/20/20 12:36:07                                         Desc
                                                              Main Document    Page 11 of 40
 Debtor 1    Jay B Reznick                                                                               Case number (if known)     1:20-bk-10905-MB
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Four televisions, amplifier, speakers,                                                                                       C.C.P. § 703.140(b)(3)
     digital camera, cell phone, iPad
                                                                      $1,500.00                                 $1,500.00
     Line from Schedule A/B: 7.1                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Approximately 15 vintage fountain                                                                                            C.C.P. § 703.140(b)(5)
     pens
                                                                      $1,000.00                                 $1,000.00
     Line from Schedule A/B: 8.1                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Surfboard and paddleboard                                                                                                    C.C.P. § 703.140(b)(5)
     Line from Schedule A/B: 9.2
                                                                         $250.00                                  $243.52
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Men's watches:                                                                                                               C.C.P. § 703.140(b)(4)
     1) 1990 Audemars-Piquet Audemars
                                                                     $28,200.00                                 $1,750.00
     Piquet Day Date Moon-Phase 18k                                                    100% of fair market value, up to
     yellow gold- 289222, Serial No.                                                       any applicable statutory limit
     C90398
     2) 2014 Ball Engineer Hydrocarbon
     Black- DM2176A, Serial No. 7311698
     3) 2000 Breitling Chronomat B13048,
     Serial No. 1-25973
     4) 2012 O
     Line from Schedule A/B: 12.1

     Four men's watches: Omega, Baum                                                                                              C.C.P. § 703.140(b)(5)
     & Mercier, Bucherer, Citizen
                                                                      $2,300.00                                 $2,300.00
     Line from Schedule A/B: 12.3                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cash on hand                                                                                                                 C.C.P. § 703.140(b)(5)
     Line from Schedule A/B: 16.1
                                                                         $150.00                                  $150.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: U.S. Bank; Acct. No.                                                                                               C.C.P. § 703.140(b)(5)
     xxxxx9459
                                                                         $700.00                                  $700.00
     Line from Schedule A/B: 17.1                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit

     Savings: US Bank; Acct. No.                                                                                                  C.C.P. § 703.140(b)(5)
     xxxxxx8788
                                                                            $5.63                                    $5.63
     Line from Schedule A/B: 17.2                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit

     Savings: US Bank, Acct. No.                                                                                                  C.C.P. § 703.140(b)(5)
     xxxxxx8762
                                                                         $110.13                                  $110.13
     Line from Schedule A/B: 17.3                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: One West Bank, Acct. No.                                                                                           C.C.P. § 703.140(b)(5)
     xxxxxx3606
                                                                      $9,665.72                                 $9,665.72
     Line from Schedule A/B: 17.4                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 3
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 Debtor 1    Jay B Reznick                                                                               Case number (if known)     1:20-bk-10905-MB
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Medicus Multimedia, LLC                                                                                                      C.C.P. § 703.140(b)(5)
     100 % ownership
                                                                      Unknown                                 $10,000.00
     Line from Schedule A/B: 19.2                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        No
        Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 3
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               Case 1:20-bk-10905-MB                          Doc 25 Filed 05/20/20 Entered 05/20/20 12:36:07                                            Desc
                                                              Main Document    Page 13 of 40
 Fill in this information to identify your case:

 Debtor 1                   Jay B Reznick
                            First Name                      Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number           1:20-bk-10905-MB
 (if known)
                                                                                                                                               Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B               Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral    Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this     portion
                                                                                                            value of collateral.   claim                  If any
 2.1     Rebecca N. Kaufman                       Describe the property that secures the claim:                 $25,000.00               $28,200.00                   $0.00
         Creditor's Name
                                                  Men's watches:
                                                  1) 1990 Audemars-Piquet Audemars
                                                  Piquet Day Date Moon-Phase 18k
                                                  yellow gold- 289222, Serial No.
                                                  C90398
                                                  2) 2014 Ball Engineer Hydrocarbon
                                                  Black- DM2176A, Serial No. 7311698
                                                  3) 2000 Breitling Chronomat
                                                  B13048, Serial No. 1-
                                                  As of the date you file, the claim is: Check all that
         734 Westholme Ave.                       apply.
         Los Angeles, CA 90024                     Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
  Debtor 1 only                                   An agreement you made (such as mortgage or secured
  Debtor 2 only                                       car loan)
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred          4/2020                    Last 4 digits of account number




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 2
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                                                               Main Document    Page 14 of 40
 Debtor 1 Jay B Reznick                                                                                    Case number (if known)   1:20-bk-10905-MB
              First Name                  Middle Name                     Last Name


 2.2    TD Auto Finance                            Describe the property that secures the claim:                  $47,086.33           $45,000.00         $2,086.33
        Creditor's Name
                                                   2018 Tesla Model 3 14000 miles

        P.O. Box 9223
                                                   As of the date you file, the claim is: Check all that
        Farmington Hills, MI                       apply.
        48333-9223                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)

  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred         2/2019                      Last 4 digits of account number        6137

        Wells Fargo Auto
 2.3                                                                                                                $9,206.58           $7,000.00         $2,206.58
        Finance                                    Describe the property that secures the claim:
        Creditor's Name
                                                   2013 BMW X1 90,000 miles
                                                   Vehicle driven by Debtor's son
                                                   As of the date you file, the claim is: Check all that
        P.O. Box 29704                             apply.
        Phoenix, AZ 85038-9704                      Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred         6/2018                      Last 4 digits of account number        4362


   Add the dollar value of your entries in Column A on this page. Write that number here:                                 $81,292.91
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                $81,292.91

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 2
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                                                              Main Document    Page 15 of 40
 Fill in this information to identify your case:

 Debtor 1                   Jay B Reznick
                            First Name                      Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                        Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number           1:20-bk-10905-MB
 (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
        Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim      Priority              Nonpriority
                                                                                                                                         amount                amount
                                                                                                                            $150,000.0
 2.1          Franchise Tax Board                                    Last 4 digits of account number       0355                      0       $150,000.00                    $0.00
              Priority Creditor's Name
              Bankruptcy Section, MS: A-340                          When was the debt incurred?           2016-2020
              P.O. Box 2952
              Sacramento, CA 95812-2952
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                             Contingent
         Debtor 1 only                                               Unliquidated
         Debtor 2 only                                               Disputed
         Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
         No                                                          Other. Specify
         Yes                                                                            Unpaid state income taxes (estimated)




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 1 of 8
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 Debtor 1 Jay B Reznick                                                                                    Case number (if known)            1:20-bk-10905-MB

                                                                                                                            $300,000.0
 2.2        Internal Revenue Service                                 Last 4 digits of account number     0355                        0           $300,000.00                     $0.00
            Priority Creditor's Name
            P.O. Box 7346                                            When was the debt incurred?         2016-2020
            Philadelphia, PA 19101-7346
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                             Contingent
         Debtor 1 only                                               Unliquidated
         Debtor 2 only                                               Disputed
         Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
         No                                                          Other. Specify
         Yes                                                                            Unpaid federal income tax (estimated)

 2.3        Trudy A. Reznick                                         Last 4 digits of account number                               $0.00                  $0.00                  $0.00
            Priority Creditor's Name
            1788 Shawness Ct.                                        When was the debt incurred?
            Thousand Oaks, CA 91362-4715
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                             Contingent
         Debtor 1 only                                               Unliquidated
         Debtor 2 only                                               Disputed
         Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
         No                                                          Other. Specify
         Yes                                                                            No arrears owed


 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 2 of 8
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 Debtor 1 Jay B Reznick                                                                                  Case number (if known)        1:20-bk-10905-MB

 4.1      American Express                                           Last 4 digits of account number       6000                                           $21,377.98
          Nonpriority Creditor's Name
          P.O. Box 297871                                            When was the debt incurred?           Last used 3/2020
          Fort Lauderdale, FL 33329-7812
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit card


 4.2      American Express                                           Last 4 digits of account number       2007                                           $24,488.62
          Nonpriority Creditor's Name
          P.O. Box 297871                                            When was the debt incurred?           Last used 3/2020
          Fort Lauderdale, FL 33329-7812
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit card for Debtor's business


 4.3      Citi Cards                                                 Last 4 digits of account number       8534                                            $7,812.75
          Nonpriority Creditor's Name
          P.O. Box 6241                                              When was the debt incurred?           Last used 5/2020
          Sioux Falls, SD 57117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit card for Debtor's business




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 3 of 8
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 Debtor 1 Jay B Reznick                                                                                  Case number (if known)        1:20-bk-10905-MB

 4.4      Constance Brock, Trustee                                   Last 4 digits of account number                                                      $77,038.43
          Nonpriority Creditor's Name
          10990 Wilshire Blvd., 8th Floor                            When was the debt incurred?           2020
          Los Angeles, CA 90024
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Payments due under former residential
           Yes                                                       Other. Specify     lease

 4.5      Douglas K. Goldwater                                       Last 4 digits of account number                                                      $47,000.00
          Nonpriority Creditor's Name
          Ferguson Case Orr Patterson LLP                            When was the debt incurred?           2/2020
          4550 Thousand Oaks Blvd., Suite
          250
          Thousand Oaks, CA 91362
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Attorneys' fees ordered paid


 4.6      Franchise Tax Board                                        Last 4 digits of account number       0355                                         $100,000.00
          Nonpriority Creditor's Name
          Bankruptcy Section, MS: A-340                              When was the debt incurred?
          P.O. Box 2952
          Sacramento, CA 95812-2952
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Unpaid state income taxes (estimated)




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 4 of 8
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                                                              Main Document    Page 19 of 40
 Debtor 1 Jay B Reznick                                                                                  Case number (if known)        1:20-bk-10905-MB

 4.7      Internal Revenue Service                                   Last 4 digits of account number       0355                                         $500,000.00
          Nonpriority Creditor's Name
          P.O. Box 7346                                              When was the debt incurred?           2010-2015
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Unpaid federal income taxes (estimated)


 4.8      Laura Whitfield                                            Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          5309 1/2 Comercio Way                                      When was the debt incurred?           2019-2020
          Woodland Hills, CA 91364
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Potential claim for legal fees


 4.9      Richard Weissman                                           Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          6303 Owensmouth Ave., 10th Fl.                             When was the debt incurred?           2019-2020
          Woodland Hills, CA 91367
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Receivership fees




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 5 of 8
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 Debtor 1 Jay B Reznick                                                                                  Case number (if known)         1:20-bk-10905-MB

 4.1
 0        Sallie Mae                                                 Last 4 digits of account number       XXXX                                            $17,415.00
          Nonpriority Creditor's Name
          P.O. Box 9555                                              When was the debt incurred?           10/2018
          Wilkes-Barre, PA 18773-9555
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify
                                                                                          Student loan for Debtor's daughter
 4.1
 1        Samuel J. Arsht                                            Last 4 digits of account number                                                       $33,075.99
          Nonpriority Creditor's Name
          1860 Bridgegate St., Suite 100                             When was the debt incurred?           2017
          Westlake Village, CA 91361-1407
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Fees owed to former receiver in family law
           Yes                                                       Other. Specify     case

 4.1
 2        Trudy A. Reznick                                           Last 4 digits of account number                                                     $618,082.00
          Nonpriority Creditor's Name
          1788 Shawness Ct.                                          When was the debt incurred?
          Thousand Oaks, CA 91362-4715
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
                                                                      Student loans
           Check if this claim is for a community
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify
                                                                                          Equalization payment




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 6 of 8
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 Debtor 1 Jay B Reznick                                                                                  Case number (if known)        1:20-bk-10905-MB

 4.1
 3         US Bank                                                   Last 4 digits of account number       0807                                                 $10,537.96
           Nonpriority Creditor's Name
           P.O. Box 6352                                             When was the debt incurred?           Last used 5/2020
           Fargo, ND 58125-6352
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

            Debtor 1 only                                            Contingent
            Debtor 2 only                                            Unliquidated
            Debtor 1 and Debtor 2 only                               Disputed
            At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                   Student loans
           debt                                                       Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                      Other. Specify     Credit card


 4.1
 4         Zion Ida                                                  Last 4 digits of account number                                                              $5,000.00
           Nonpriority Creditor's Name
           P.O. Box 261972                                           When was the debt incurred?           4/2020-5/2020
           Encino, CA 91426
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

            Debtor 1 only                                            Contingent
            Debtor 2 only                                            Unliquidated
            Debtor 1 and Debtor 2 only                               Disputed
            At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                   Student loans
           debt                                                       Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                      Other. Specify     Unpaid rent

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Andrew Goodman                                                Line 4.12 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 555 Marin St., Suite 140                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Thousand Oaks, CA 91360
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 David M. Cohen                                                Line 4.4 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 5950 Canoga Ave., Suite 605                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Woodland Hills, CA 91367
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Douglas K. Goldwater                                          Line 4.12 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 Ferguson Case Orr Patterson LLP                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 4550 Thousand Oaks Blvd., Suite
 250
 Thousand Oaks, CA 91362
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Sallie Mae Bank                                               Line 4.10 of (Check one):                Part 1: Creditors with Priority Unsecured Claims

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 7 of 8
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 Debtor 1 Jay B Reznick                                                                                   Case number (if known)         1:20-bk-10905-MB

 P.O. Box 3229                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19804
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ventura County Dept. Child Support                            Line 2.3 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 5171 Verdugo Way                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Camarillo, CA 93012
                                                               Last 4 digits of account number


 Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
 Total
 claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                          6b.       $                  450,000.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                        0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                        0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                  450,000.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                    17,415.00
 Total
 claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                  618,082.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                        0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                  826,331.73

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                1,461,828.73




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 8 of 8
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                                                              Main Document    Page 23 of 40
 Fill in this information to identify your case:

 Debtor 1                Jay B Reznick
                         First Name                         Middle Name          Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name          Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number           1:20-bk-10905-MB
 (if known)
                                                                                                                                Check if this is an
                                                                                                                                   amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease              State what the contract or lease is for
                         Name, Number, Street, City, State and ZIP Code

     2.1      Zion Ida                                                                Lease of Debtor's residence; $4,950.00 per month
              P.O. Box 261972
              Encino, CA 91426




Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 1
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                                                                  Main Document    Page 24 of 40
 Fill in this information to identify your case:

 Debtor 1                   Jay B Reznick
                            First Name                           Middle Name         Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name         Last Name


 United States Bankruptcy Court for the:                 CENTRAL DISTRICT OF CALIFORNIA

 Case number           1:20-bk-10905-MB
 (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                           12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

       No
       Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

       No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                 No
                 Yes.

                       In which community state or territory did you live?           -NONE-          . Fill in the name and current address of that person.


                       Name of your spouse, former spouse, or legal equivalent
                       Number, Street, City, State & Zip Code


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                       Check all schedules that apply:


    3.1         Jay B. Reznick, DMD, MD, Inc.                                                         Schedule D, line
                18372 Clark St., Suite 224                                                            Schedule E/F, line         4.2
                Tarzana, CA 91356
                                                                                                      Schedule G
                                                                                                     American Express



    3.2         Medicus Multimedia, LLC                                                               Schedule D, line
                18372 Clark St., Suite 224                                                            Schedule E/F, line         4.3
                Tarzana, CA 91356
                                                                                                      Schedule G
                                                                                                     Citi Cards




Official Form 106H                                                               Schedule H: Your Codebtors                                      Page 1 of 2
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 Debtor 1 Jay B Reznick                                                                 Case number (if known)   1:20-bk-10905-MB


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                         Column 2: The creditor to whom you owe the debt
                                                                                             Check all schedules that apply:
    3.3      Trudy A. Reznick                                                                 Schedule D, line
             1788 Shawness Ct.                                                                Schedule E/F, line      4.6
             Thousand Oaks, CA 91362-4715
                                                                                              Schedule G
                                                                                             Franchise Tax Board



    3.4      Trudy A. Reznick                                                                 Schedule D, line
             1788 Shawness Ct.                                                                Schedule E/F, line      4.7
             Thousand Oaks, CA 91362-4715
                                                                                              Schedule G
                                                                                             Internal Revenue Service




Official Form 106H                                                       Schedule H: Your Codebtors                                 Page 2 of 2
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Fill in this information to identify your case:

Debtor 1                      Jay B Reznick

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       CENTRAL DISTRICT OF CALIFORNIA

Case number               1:20-bk-10905-MB                                                              Check if this is:
(If known)
                                                                                                         An amended filing
                                                                                                         A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                               Employed                                   Employed
       attach a separate page with           Employment status*
       information about additional                                 Not employed                               Not employed
       employers.
                                             Occupation            Oral surgeon
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Jay B. Reznick, DMD, MD, Inc.

       Occupation may include student        Employer's address
                                                                   18372 Clark St., Suite 224
       or homemaker, if it applies.
                                                                   Tarzana, CA 91356

                                             How long employed there?         13 years
                                                                              *See Attachment for Additional Employment Information

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $       25,000.00         $             N/A

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$            N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $     25,000.00               $      N/A




Official Form 106I                                                      Schedule I: Your Income                                                   page 1
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Debtor 1   Jay B Reznick                                                                         Case number (if known)    1:20-bk-10905-MB


                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $      25,000.00      $             N/A

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $        5,000.00     $               N/A
     5b.    Mandatory contributions for retirement plans                                  5b.        $            0.00     $               N/A
     5c.    Voluntary contributions for retirement plans                                  5c.        $            0.00     $               N/A
     5d.    Required repayments of retirement fund loans                                  5d.        $            0.00     $               N/A
     5e.    Insurance                                                                     5e.        $            0.00     $               N/A
     5f.    Domestic support obligations                                                  5f.        $            0.00     $               N/A
     5g.    Union dues                                                                    5g.        $            0.00     $               N/A
     5h.    Other deductions. Specify:                                                    5h.+       $            0.00 +   $               N/A
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $            5,000.00     $               N/A
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          20,000.00      $               N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $               N/A
     8b. Interest and dividends                                                           8b.        $              0.00   $               N/A
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $               N/A
     8d. Unemployment compensation                                                        8d.        $              0.00   $               N/A
     8e. Social Security                                                                  8e.        $              0.00   $               N/A
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $               N/A
     8g. Pension or retirement income                                                     8g. $                     0.00   $               N/A
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $               N/A

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              20,000.00 + $          N/A = $          20,000.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                  0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.   $         20,000.00
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
         No.
         Yes. Explain: Prior to filing his petition, a Receiver was appointed for Debtor's two businesses. Receiver paid the
                             Debtor $8,500 per month as an independent contractor. Additionally, Receiver directly paid spousal
                             support, child support and certain other expenses totaling $19,770.

                             Debtor expects to rebuild his business income after the Receiver is removed and the COVID-19
                             pandemic abates.




Official Form 106I                                                     Schedule I: Your Income                                                     page 2
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Debtor 1   Jay B Reznick                                                Case number (if known)   1:20-bk-10905-MB


                                               Official Form B 6I
                               Attachment for Additional Employment Information

Debtor
Occupation            Teacher/Lecturer
Name of Employer      Medicus Multimedia, LLC
How long employed     13 Years
Address of Employer   16707 Moorpark St.
                      Encino, CA 91436




Official Form 106I                                 Schedule I: Your Income                                          page 3
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Fill in this information to identify your case:

Debtor 1                Jay B Reznick                                                                      Check if this is:
                                                                                                            An amended filing
Debtor 2                                                                                                    A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA                                             MM / DD / YYYY

Case number           1:20-bk-10905-MB
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
             Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and             Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                  No
      dependents names.                                                                                                                 Yes
                                                                                                                                        No
                                                                                                                                        Yes
                                                                                                                                        No
                                                                                                                                        Yes
                                                                                                                                        No
                                                                                                                                        Yes
3.    Do your expenses include                    No
      expenses of people other than
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            2,000.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                            35.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                             0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
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Debtor 1    Jay B Reznick                                                                  Case number (if known)   1:20-bk-10905-MB

6.    Utilities:
      6a. Electricity, heat, natural gas                                                        6a.   $                       575.00
      6b. Water, sewer, garbage collection                                                      6b.   $                       200.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                        6c.   $                       587.00
      6d. Other. Specify: Alarm                                                                 6d.   $                        36.00
7.    Food and housekeeping supplies                                                             7.   $                       750.00
8.    Childcare and children’s education costs                                                   8.   $                     1,450.00
9.    Clothing, laundry, and dry cleaning                                                        9.   $                        75.00
10.   Personal care products and services                                                       10.   $                       200.00
11.   Medical and dental expenses                                                               11.   $                       250.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                              12. $                        250.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                        13. $                        100.00
14.   Charitable contributions and religious donations                                          14. $                          0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                      15a.   $                       367.00
      15b. Health insurance                                                                    15b.   $                     1,746.00
      15c. Vehicle insurance                                                                   15c.   $                       836.00
      15d. Other insurance. Specify: Disability                                                15d.   $                       365.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                  16. $                           0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                          17a.   $                         0.00
      17b. Car payments for Vehicle 2                                                          17b.   $                         0.00
      17c. Other. Specify:                                                                     17c.   $                         0.00
      17d. Other. Specify:                                                                     17d.   $                         0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).      18. $                           15,000.00
19.   Other payments you make to support others who do not live with you.                       $                           1,700.00
      Specify: Debtor's Daughter's Rent                                                    19.
             Debtor's Daugher's Food and Living Expenses                                   19.
             Debtor's Sons' allowance                                                      19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
    20a. Mortgages on other property                                                     20a. $                                0.00
    20b. Real estate taxes                                                               20b. $                                0.00
    20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                0.00
    20d. Maintenance, repair, and upkeep expenses                                        20d. $                                0.00
    20e. Homeowner’s association or condominium dues                                     20e. $                                0.00
21. Other: Specify:   Pet Care                                                             21. +$                             50.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                          $              26,572.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                  $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                     $              26,572.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                          23a. $                      20,000.00
    23b. Copy your monthly expenses from line 22c above.                                       23b. -$                     26,572.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                              23c. $                      -6,572.00




Official Form 106J                                         Schedule J: Your Expenses                                                   page 2
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Debtor 1    Jay B Reznick                                                                             Case number (if known)      1:20-bk-10905-MB

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
     For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
     modification to the terms of your mortgage?
      No.
      Yes.              Explain here: Child support ($4000) ends 06/30/2020; college tuition for son will begin in Fall 2020 - $1000
                         per month increase.

                         The majority of Debtor's expenses were previously being paid directly by the appointed Receiver from
                         Debtor's businesses.

                         Debtor currently pays half of his rental payments because the full rental payment is in a temporary
                         forbearance.

                         Debtor's vehicle payments are in forbearance for the next several months.




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 Fill in this information to identify your case:

 Debtor 1                  Jay B Reznick
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number           1:20-bk-10905-MB
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                               amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                 4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

        Married
              Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

        No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                               Dates Debtor 2
                                                                lived there                                                                       lived there
        18441 Kingsport Dr.                                     From-To:                     Same as Debtor 1                                     Same as Debtor 1
        Malibu, CA 90265                                        3/2015-10/2019                                                                    From-To:




3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
        Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

        No
              Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income               Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.           (before deductions
                                                                                    exclusions)                                                    and exclusions)

 From January 1 of current year until               Wages, commissions,                       $120,205.00          Wages, commissions,
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips

                                                    Operating a business                                           Operating a business
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 Debtor 1      Jay B Reznick                                                                               Case number (if known)   1:20-bk-10905-MB


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 For last calendar year:                            Wages, commissions,                       $352,687.00          Wages, commissions,
 (January 1 to December 31, 2019 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                    Operating a business                                           Operating a business

 For the calendar year before that:                 Wages, commissions,                       $487,726.00          Wages, commissions,
 (January 1 to December 31, 2018 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                    Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

       No
           Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)
 From January 1 of current year until Withdrawal from                                           $25,000.00
 the date you filed for bankruptcy:   401(k) account


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                      No.         Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.
       Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                      No.         Go to line 7.
                      Yes         List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe




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       Creditor's Name and Address                              Dates of payment             Total amount          Amount you        Was this payment for ...
                                                                                                     paid            still owe
       US Bank                                                  3/13/2020,                      $8,000.00          $10,537.96         Mortgage
       P.O. Box 6352                                            3/19/2020,                                                            Car
       Fargo, ND 58125-6352                                     4/8/2020                                                              Credit Card
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

           No
       Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

           No
       Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

       No
           Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number
       Jay Reznick v. Trudy Reznick                             Divorce case                Ventura County Superior                      Pending
       D341511                                                                              Court                                     On appeal
                                                                                            800 S. Victoria Ave.
                                                                                                                                      Concluded
                                                                                            Ventura, CA 93009


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

       No. Go to line 11.
           Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                             property
                                                                Explain what happened
       Franchise Tax Board                                      Account at One West Bank                                      3/30/2020                    $1,919.63
       Bankruptcy Section, MS: A-340
       P.O. Box 2952                                             Property was repossessed.
       Sacramento, CA 95812-2952                                 Property was foreclosed.
                                                                 Property was garnished.
                                                                 Property was attached, seized or levied.

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11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
       Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was             Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?
       No
           Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
     No
           Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                 Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:
       Rebecca N. Kaufman                                            Necklace                                                 2/2019                   $1,200.00
       734 Westholme Ave.
       Los Angeles, CA 90024

       Person's relationship to you: Girlfriend

       Madeline Reznick                                              Necklace                                                 6/2019                     $500.00
       1924 University Alley
       Eugene, OR 97401

       Person's relationship to you: Daughter


14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
       Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                      Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
       Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                           lost
                                                            insurance claims on line 33 of Schedule A/B: Property.




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 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

       No
           Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Weintraub & Selth, APC                                                                                                 3/31/2020                 $1,000.00
       11766 Wilshire Blvd., Suite 1170
       Los Angeles, CA 90025


       Weintraub & Selth, APC                                                                                                 4/8/2020                 $25,000.00
       11766 Wilshire Blvd., Suite 1170
       Los Angeles, CA 90025


       Weintraub & Selth, APC                                                                                                 4/30/2020                $25,000.00
       11766 Wilshire Blvd., Suite 1170
       Los Angeles, CA 90025


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
       Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
     No
           Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you
       Unknown buyers on The RealReal                                Clothing ($301), wallets                   Total payments: $16,893         12/2019-4/2020
                                                                     ($51), cufflinks ($30), watch
                                                                     winders ($343), ring ($417),
       None                                                          Omega watch ($2,700),
                                                                     Omega watch ($2,205),
                                                                     Corum watch ($2,800), Ball
                                                                     watch ($488), Rolex watch
                                                                     ($3,650), Omega watch
                                                                     ($1,606), Omega watch
                                                                     ($1,466), Ball watch ($836).

       Unknown buyers on eBay                                        Fountain pens                              $300 (estimate)                 2019


       None


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19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
       Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                         Date Transfer was
                                                                                                                                               made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
       Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of              Type of account or        Date account was            Last balance
       Address (Number, Street, City, State and ZIP             account number                instrument                closed, sold,           before closing or
       Code)                                                                                                            moved, or                        transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
       Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?             Describe the contents                Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                              have it?
                                                                     State and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

       No
           Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access             Describe the contents                Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                      have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

       Madeline Reznick                                                                                     2012 Jeep Liberty owned by            No
       1924 University Alley                                                                                Debtor and driven by Debtor's         Yes
       Eugene, OR 97401                                                                                     daughter


 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

       No
           Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                 Describe the property                            Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

       Madeline Reznick                                              US Bank                                Checking account owned by                      $36.05
       1924 University Alley                                         19500 Ventura Blvd.                    Debtor's 22-year old
       Eugene, OR 97401                                              Tarzana, CA 91356                      daughter, Acct. No.
                                                                                                            xxxxxx3862. All funds belong
                                                                                                            to Debtor's daughter. Debtor
                                                                                                            is a co-signer on account.




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 Debtor 1      Jay B Reznick                                                                                    Case number (if known)   1:20-bk-10905-MB


       Owner's Name                                                  Where is the property?                     Describe the property                            Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

       Matthew Reznick                                               US Bank                                    Checking account owned by                      $18.84
       16707 Moorpark St.                                            19500 Ventura Blvd.                        Debtor's 18-year old son,
       Encino, CA 91436                                              Tarzana, CA 91356                          Acct. No. xxxxxx8884. All
                                                                                                                funds belong to Debtor's son.
                                                                                                                Debtor is a co-signer on
                                                                                                                account.


 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
       Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
       Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
       Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                   Status of the
       Case Number                                                   Name                                                                            case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
             A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
             A member of a limited liability company (LLC) or limited liability partnership (LLP)
             A partner in a partnership
             An officer, director, or managing executive of a corporation
             An owner of at least 5% of the voting or equity securities of a corporation



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 7
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